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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ILLINOIS

                                                 )
                                                 )
IN RE: PARAQUAT PRODUCTS                         )   Case No. 3:21-md-3004-NJR
LIABILITY LITIGATION                             )
                                                 )   MDL No. 3004
                                                 )
This Document Applies To:                        )   Motion to Dismiss
                                                 )
All Current Actions. See CMO No. 8.              )

                       DEFENDANT CHEVRON U.S.A. INC.’S
                   CONSOLIDATED PARTIAL MOTION TO DISMISS

       Defendant Chevron U.S.A. Inc. (“Chevron”) files this motion under Federal Rule of Civil

Procedure 12(b)(6) and CMO No. 8, ECF No. 347. This motion applies to all Current Actions as

defined by CMO No. 8, which are also listed below. The motion seeks to dismiss (i) claims

barred by statutes of repose or statutes of limitations based on the allegations in the Complaints;

(ii) public nuisance claims; and (iii) claims against Chevron that arise from alleged paraquat

exposure long after the time when Plaintiffs admit that Chevron ceased distributing the product.

These claims are specifically identified in the appendix accompanying this motion. Defendants

will also submit a proposed order identifying all of the counts that are subject to dismissal under

this motion and the Syngenta Defendants’ motion to dismiss, which Chevron joins.

       As set forth in detail in the accompanying memorandum, Chevron moves as follows:

       1.      The Court should dismiss claims that are barred under the statutes of repose of
               Illinois, Indiana, Tennessee, Iowa, Georgia, North Carolina, and Connecticut, all
               of which extinguish products liability (or certain forms of such liability) a fixed
               number of years following the sale of the product.

       2.      The Court should dismiss claims that are barred under the statutes of limitations
               of Alabama, Maine, Michigan, Mississippi, Nebraska, and New York, all of
               which treat claims as accruing for limitations purposes no later than the time of
               injury, regardless of the plaintiff’s knowledge of the alleged causal link between
               that injury and the defendant’s conduct.
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       3.      The Court should dismiss warranty claims that are barred under the statutes of
               limitations of Alabama, Arizona, Connecticut, Illinois, Indiana, Kentucky,
               Louisiana, Maryland, Minnesota, Mississippi, Missouri, Nebraska, New York,
               North Dakota, Oklahoma, Pennsylvania, Tennessee, Texas, Virginia, Washington,
               and Wisconsin, as well as statutory consumer protection claims under Louisiana,
               Michigan, and Minnesota law, all of which treat such claims as accruing for
               limitations purposes at the time of sale, regardless of the plaintiff’s knowledge of
               the alleged breach.

       4.      The Court should dismiss all public nuisance claims for the following reasons:

               a.     Courts do not recognize public nuisance claims based on the mere sale of
                      lawful products, absent other allegations of wrongdoing that Plaintiffs do
                      not allege here.

               b.     Under the law of all relevant states, public nuisance claims require alleged
                      interference with a public right, and Plaintiffs have not and cannot allege
                      such an interference here.

               c.     Under the laws of Florida, Idaho, Iowa, Indiana, Michigan, Minnesota,
                      Missouri, New York, Oklahoma, Pennsylvania, and Tennessee, a plaintiff
                      can state a public nuisance claim only against a defendant who was in
                      control of the allegedly nuisance-causing instrumentality at the time of the
                      alleged injury, and Plaintiffs have not and cannot so allege here.

       5.      The Court should dismiss all claims against Chevron that arise from alleged
               paraquat exposures on or after 1990, because Plaintiffs admit that Chevron ceased
               distributing paraquat in 1986, and it is implausible that exposures postdating 1990
               were caused by products Chevron sold. For the same reason, the Court should
               dismiss claims against Chevron that are barred by statutes of repose or limitations
               given that, by Plaintiffs’ admission, Chevron did not sell any paraquat after 1986.

       6.      The Court should dismiss all derivative claims, e.g., for loss of consortium or for
               punitive damages, in cases where all of the primary claims are subject to dismissal
               under this motion or the motion to dismiss filed by the Syngenta Defendants.

       This motion applies to “Current Actions” as defined by CMO No. 8, meaning cases in

which a defendant was served with the complaint on or before August 11, 2021. Those are:

       •    Hemker v. Syngenta Crop Protection, LLC, No. 3:21-pq-547
       •    Piper v. Syngenta Crop Protection, LLC, No. 3:21-pq-548
       •    Runyon v. Syngenta Crop Protection, LLC, No. 3:21-pq-549
       •    Kearns v. Syngenta Crop Protection LLC, No. 3:21-pq-550
       •    Durbin v. Syngenta Crop Protection LLC, No. 3:21-pq-551
       •    Barrat v. Syngenta Crop Protection LLC, No. 3:21-pq-552
       •    Holyfield v. Chevron U.S.A. Inc., No. 3:21-pq-553

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      •   Rakoczy v. Syngenta Crop Protection, LLC, No. 3:21-pq-554
      •   Albanese v. Syngenta AG, No. 3:21-pq-555
      •   O’Connor v. Syngenta AG, No. 3:21-pq-556
      •   Turner v. Syngenta Crop Protection LLC, No. 3:21-pq-558
      •   Denes v. Syngenta AG, No. 3:21-pq-563
      •   Majors v. Syngenta AG, No. 3:21-pq-566
      •   Richter v. Syngenta Crop Protection, LLC, No. 3:21-pq-571
      •   Gieseke v. Syngenta Crop Protection, LLC, No. 3:21-pq-576
      •   Tenneson v. Syngenta Crop Protection LLC, No. 3:21-pq-589
      •   Crawford v. Syngenta Crop Protection, LLC, No. 3:21-pq-590
      •   Miller v. Syngenta Crop Protection, LLC, No. 3:21-pq-591
      •   Hill v. Syngenta Crop Protection, LLC, No. 3:21-pq-594
      •   Walkington v. Syngenta AG, No. 3:21-pq-601
      •   Holmes v. Syngenta AG, No. 3:21-pq-602
      •   Gray v. Syngenta Crop Protection LLC, No. 3:21-pq-603
      •   Moen v. Syngenta Crop Protection LLC, No. 3:21-pq-605
      •   Rutherford v. Syngenta Crop Protection LLC, No. 3:21-pq-606
      •   Nunnery v. Syngenta AG, No. 3:21-pq-607
      •   Van Pelt v. Syngenta AG, No. 3:21-pq-608
      •   Ruscoe v. Syngenta AG, No. 3:21-pq-609
      •   Strickland v. Syngenta Crop Protection LLC, No. 3:21-pq-611
      •   Hays v. Syngenta Crop Protection, LLC, No. 3:21-pq-612
      •   Otten v. Syngenta Crop Protection LLC, No. 3:21-pq-613
      •   Adams v. Syngenta Crop Protection LLC, No. 3:21-pq-614
      •   McCarty v. Syngenta Crop Protection LLC, No. 3:21-pq-616
      •   Hensgens v. Syngenta AG, No. 3:21-pq-617
      •   Barr v. Syngenta AG, No. 3:21-pq-618
      •   Copas v. Syngenta Crop Protection LLC, No. 3:21-pq-619
      •   Haresnape v. Syngenta AG, No. 3:21-pq-621
      •   Dietrich v. Syngenta Crop Protection, LLC, No. 3:21-pq-622
      •   Vacchino v. Syngenta AG, No. 3:21-pq-623
      •   Larsen v. Syngenta Crop Protection, LLC, No. 3:21-pq-624
      •   Werking v. Syngenta AG, No. 3:21-pq-625
      •   Glassburn v. Syngenta Crop Protection, LLC, No. 3:21-pq-626
      •   Smith v. Syngenta Crop Protection, LLC, No. 3:21-pq-627
      •   Ward v. Syngenta AG, No. 3:21-pq-628
      •   Ayres v. Syngenta Crop Protection, LLC, No. 3:21-pq-629
      •   Galasso v. Syngenta AG, No. 3:21-pq-630
      •   Parson v. Syngenta Crop Protection, LLC, No. 3:21-pq-631
      •   Brown Jefferson v. Syngenta AG, No. 3:21-pq-632
      •   Dove v. Syngenta AG, No. 3:21-pq-633
      •   Landis v. Syngenta Crop Protection, LLC, No. 3:21-pq-634
      •   Hawkins v. Syngenta Crop Protection LLC, No. 3:21-pq-635
      •   Henderson v. Syngenta Crop Protection LLC, No. 3:21-pq-636

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      •   Elmore v. Syngenta Crop Protection, LLC, No. 3:21-pq-638
      •   Supenia v. Syngenta Crop Protection, LLC, No. 3:21-pq-639
      •   Gamwell v. Syngenta Crop Protection, LLC, No. 3:21-pq-640
      •   Trower v. Syngenta Crop Protection, LLC, No. 3:21-pq-641
      •   McDonald v. Syngenta Crop Protection, LLC, No. 3:21-pq-642
      •   Kirk v. Syngenta Crop Protection, LLC, No. 3:21-pq-643
      •   Richmond v. Syngenta Crop Protection, LLC, No. 3:21-pq-644
      •   McDonald v. Syngenta Crop Protection, LLC, No. 3:21-pq-645
      •   Cates v. Syngenta Crop Protection, LLC, No. 3:21-pq-646
      •   Morrow v. Syngenta Crop Protection LLC, No. 3:21-pq-647
      •   Pilgreen v. Syngenta Crop Protection, LLC, No. 3:21-pq-648
      •   Self v. Syngenta Crop Protection, LLC, No. 3:21-pq-649
      •   West v. Syngenta Crop Protection, LLC, No. 3:21-pq-650
      •   Nichols v. Syngenta Crop Protection LLC, No. 3:21-pq-652
      •   Gaddis v. Syngenta Crop Protection, LLC, No. 3:21-pq-653
      •   Smith v. Syngenta Crop Protection, LLC, No. 3:21-pq-654
      •   Wilson v. Syngenta Crop Protection, LLC, No. 3:21-pq-655
      •   Crane v. Syngenta Crop Protection LLC, No. 3:21-pq-656
      •   Friday v. Syngenta Crop Protection LLC, No. 3:21-pq-657
      •   Rysavy v. Syngenta Crop Protection, LLC, No. 3:21-pq-659
      •   Adams v. Syngenta AG, No. 3:21-pq-660
      •   Normand v. Syngenta AG, No. 3:21-pq-661
      •   Nelson v. Syngenta AG, No. 3:21-pq-662
      •   Ingram v. Syngenta AG, No. 3:21-pq-663
      •   Passino v. Syngenta AG, No. 3:21-pq-665
      •   Edwards v. Syngenta Crop Protection, LLC, No. 3:21-pq-666
      •   Mettetal v. Syngenta AG, No. 3:21-pq-668
      •   Jones v. Syngenta AG, No. 3:21-pq-669
      •   Milling v. Syngenta Crop Protection, LLC, No. 3:21-pq-671
      •   Amatucci v. Syngenta AG, No. 3:21-pq-672
      •   Wurster v. Syngenta Crop Protection LLC, No. 3:21-pq-677
      •   Sweeten v. Syngenta Crop Protection, LLC, No. 3:21-pq-687
      •   Danforth v. Syngenta Crop Protection LLC, No. 3:21-pq-690
      •   Frank v. Syngenta Crop Protection LLC, No. 3:21-pq-691
      •   Zaugg v. Syngenta Crop Protection LLC, No. 3:21-pq-694
      •   Byrnes v. Syngenta Crop Protection LLC, No. 3:21-pq-695
      •   Lovelady v. Syngenta AG, No. 3:21-pq-704
      •   Andersen v. Syngenta AG, No. 3:21-pq-713
      •   Eiland v. Syngenta AG, No. 3:21-pq-714
      •   Willyard v. Syngenta AG, No. 3:21-pq-715
      •   Bakken v. Syngenta Crop Protection LLC, No. 3:21-pq-722
      •   Thompson v. Syngenta Crop Protection LLC, No. 3:21-pq-731
      •   Heath v. Syngenta Crop Protection, LLC, No. 3:21-pq-734
      •   Bequette v. Syngenta Crop Protection LLC, No. 3:21-pq-752

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      •   Walker v. Syngenta Crop Protection LLC, No. 3:21-pq-763
      •   Rowan v. Syngenta AG, No. 3:21-pq-778
      •   Willey v. Syngenta AG, No. 3:21-pq-784
      •   Morrow v. Syngenta Crop Protection LLC, No. 3:21-pq-785
      •   Taylor v. Syngenta Crop Protection LLC, No. 3:21-pq-786
      •   Thibodeaux v. Syngenta Crop Protection LLC, No. 3:21-pq-788
      •   Causey v. Syngenta Crop Protection LLC, No. 3:21-pq-790
      •   Burnette v. Syngenta Crop Protection, LLC, No. 3:21-pq-822
      •   Adams v. Syngenta Crop Protection LLC, No. 3:21-pq-828
      •   Tippey v. Syngenta Crop Protection LLC, No. 3:21-pq-829
      •   Barber v. Syngenta Crop Protection LLC, No. 3:21-pq-830
      •   Altman v. Syngenta Crop Protection, LLC, No. 3:21-pq-832
      •   Douglas v. Syngenta Crop Protection, LLC., No. 3:21-pq-833
      •   Halloran v. Syngenta AG, No. 3:21-pq-834
      •   Stanton v. Syngenta Crop Protection, LLC, No. 3:21-pq-835
      •   Fuller v. Syngenta Crop Protection, LLC, No. 3:21-pq-836
      •   Branscum v. Syngenta Crop Protection, LLC, No. 3:21-pq-838
      •   Branscum v. Syngenta Crop Protection, LLC, No. 3:21-pq-839
      •   Shea v. Syngenta Crop Protection LLC, No. 3:21-pq-840
      •   Bankston v. Syngenta Crop Protection, Inc., No. 3:21-pq-843
      •   Fillinghim v. Syngenta AG, No. 3:21-pq-846
      •   Bergmann v. Syngenta AG, No. 3:21-pq-847
      •   Odom v. Syngenta Crop Protection LLC, No. 3:21-pq-849
      •   Parker v. Chevron U.S.A., Inc., No. 3:21-pq-880




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September 13, 2021                       Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on September 13, 2021, the foregoing was

electronically filed using the CM/ECF system, which will send notification of such filing to all

counsel of record.

                                                   /s/ Leon F. DeJulius, Jr.
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